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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF WISCONSIN

WILLIAM WHITFORD, ROGER ANCLAM,
EMILY BUNTJNG, MARY LUNNE
DONOHUE, HELEN HARRIS, WAYNE                           AMENDED JUDGMENT
JENSEN, WENDY SUE JOHNSON, JANET
                                                         IN A CIVIL CASE
MITCHELL, ALLISON SEA TON. JAMES
SEATON, JEROME WALLACE ~nd
DONALD WINTER,                                          Case No. 15-cv-421-bbc

        Plaintiffs,

   v.

BEYERLYR. GILL, JULJE M. GLANCEY,
ANN S. JACOBS, STEVE KING,
DON MILLIS, and MARK L. THOMSEN,

        Defendants.


      This action came before the court for consideration with Circuit Judge
Kenneth F. Ripple, District Tudge Barbara B. Crabb and District Judge William C.
Griesbach presiding. The issues have been considered and a decision has been
rendered.


       IT IS ORDERED AND ADJUDGED that judgment is entered irt favor of
plaintiffs Wi1liam Whitford, Roger Anclarn, Emily Bunting, Helen Harris, Wayne
Jensen, Wendy Sue Johnson,Janet Mitchell, Allison Seaton, James Seaton, Jerome
Wallace, Donald Winter and Mary Lynn Donohue and dismissing this case.

      IT IS FURTHER ORDERED AND ADJUDGED that the defendants are
enjoined from using the district plan embodied in Act 43 in all future elections.


      IT IS FURTHER ORDERED AND ADJUDGED tJ1at dte defendants have a
remedial redistricting plan for tJ1e November 2018 election, enacted by the
Wisconsin Legislature and signed by the Governor, in place no later tJian
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November l, 2017. This plan must comply with our November 21, 2016 order but
may be contingent upon the Supreme Court's affirmance of our November 21, 2016
order.


       IT FURTHER ORDERED AND ADJUGED that the court retains jurisdiction
to enter such orders as may be necessary to enforce the court's judgment in this
matter and to remedy in a timely manner the constitutional violation.




Approved as to form this}Jtfay of March, 2017.



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Barbara B. Crabb
Distlict Judge


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Peter Oppeneer
Clerk of Court
